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               In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                         Filed: December 4, 2015

* * * * * * * * * * * * * *                             *
PAT KNIGHT, as Trustee for the heirs of                 *
GARY KNIGHT, deceased,                                  *
                                                        *        No. 14-485V
                  Petitioner,                           *
                                                        *
v.                                                      *        Special Master Roth
                                                        *
SECRETARY OF HEALTH                                     *        Damages Decision Based on Stipulation;
AND HUMAN SERVICES,                                     *        Influenza Vaccine; Guillain-Barre
                                                        *        Syndrome; “GBS”; Death
                  Respondent.                           *
                                                        *
* * * * * * * * * * * * * *                             *

Randall G. Knutson, Knutson and Casey Law Firm, Mankato, MN, for petitioner.
Linda S. Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                                  DECISION AWARDING DAMAGES1

Roth, Special Master:

        On June 5, 2014, Pat Knight filed a petition for compensation under the National Vaccine
Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 [the “Vaccine Act” or “Program”],
as Trustee for the heirs of Gary Knight, alleging that Mr. Knight developed Guillain-Barre
Syndrome (“GBS”) and died on July 5, 2014 as a result of the influenza vaccine he received on
August 16, 2011. Respondent denies that the flu vaccine is the cause of petitioner’s alleged GBS
and, or any other injury, or his death. Stipulation at ¶¶ 6, 15.

       On December 4, 2015, respondent filed a stipulation agreeing to settle this case and
describing the settlement terms. According to respondent’s stipulation, petitioner agrees to the


1
 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17, 2002). In accordance with Vaccine Rule 18(b), petitioners
have 14 days to identify and move to delete medical or other information, the disclosure of which would constitute
an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I
will delete such material from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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proposed award of compensation. Pursuant to the terms stated in the attached stipulation,
petitioner is awarded:

             A lump sum of $78,000.00 in the form of a check payable to petitioner, Patricia
             Knight, as Trustee for the Heirs of Gary Knight. This amount represents
             compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).

        The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                                                       s/Mindy Michaels Roth
                                                                       Mindy Michaels Roth
                                                                       Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.


                                                         2
